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              EXHIBIT F
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     STRANGE & CARPENTER


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                          FIRM RESUME
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                                       FIRM RESUME

        Strange & Carpenter has battled at the forefront of class actions and complex business
 disputes since the firm’s establishment 23 years ago. Its members were educated at the
 nation’s leading law schools before joining forces to provide the superior and responsive
 legal services that Strange & Carpenter is known for today.

         The firm has been featured as one of the five most successful California small law
 firms as far back as 1994 by California Law Business. In just the last few years, Strange &
 Carpenter’s settlements for class members in various cases have exceeded $100 million.
 Partners Brian R. Strange and Gretchen Carpenter were named as Southern California Super
 Lawyers in 2010, 2011 and for the upcoming year 2012, an award given to only 5% of
 practicing lawyers in California. Strange & Carpenter has been appointed lead counsel and
 held numerous leadership positions in class actions and mass disaster litigation across the
 country, including noted cases such as the San Juan Dupont Plaza Hotel fire litigation and
 litigation arising out of the Iran-Contra scandal.

         Strange & Carpenter serves at the forefront of several current class action issues,
 including Discover Bank v. Superior Court, 36 Cal. 4th 148, 30 Cal. Rptr. 3d 76 (2005) where
 Strange & Carpenter counsel argued before the California Supreme Court in a case ultimately
 holding that class action bans are unenforceable in California. Strange & Carpenter has also
 recently litigated cases involving Internet security breaches and privacy violations and
 published in the area. The following is a partial list of the class action settlements in which
 the firm has served as class counsel over the last several years: Fiori, et al. v. Dell Inc.,
 United States District Court for the Northern District of California Case No. C 09- 01518-JW
 (settled for $30 million) Hall, et al. v. AT&T Mobility LLC f/k/a Cingular Wireless LLC, et
 al., United States District Court for the District of New Jersey Case No. 07-05325 (JLL)
 (settled for $18 million); Carpenters and Joiners Welfare Fund, et al. v. SmithKline Beecham
 Corporation d/b/a GlaxoSmithKline, et al., United States District Court for the District of
 Minnesota Case No. CV 04-3500 MJD/SRN (settled for $40 million); MacGregor v.
 Schering-Plough Corporation, Los Angeles Superior Court Case No. BC 24804 (settlement
 valued at $202.5 million); Schwartz, et al. v. Citibank (South Dakota), N.A., et al., United
 States District Court for the Central District of California Case No. 00-00075 LGB (JWJx)
 (settled for $36 million); Mayemura, et al. v. Chase Manhattan Bank, United States District
 Court for the Central District of California Case No. 00-00753 LGB (JWJx) (settled for $22.5
 million); Blake H. Brown v. Fremont Compensation Insurance Company, Los Angeles
 Superior Court Case No. BC 180443 (settled for $25 million); Edelist v. First USA, N.A.,
 Orange County Superior Court Case No. 02CC00294 (settled for $57 million); Shea v.
 Household Bank (SB), National Association, Orange County Superior Court Case No.
 00CC12588 (settled for $34.9 million);; and Simonet, et al. v. SmithKline Beecham
 Corporation d/b/a GlaxoSmithKline, et al., United States District Court for the District of
 Puerto Rico Case No. 06-1230 (GAG) (settled for $28 million).

         Strange & Carpenter selectively chooses and monitors its cases and clientele in order
 to provide the highest quality work and immediate attention to its cases and the needs of
 clients and class members. The firm utilizes paralegals as well as computerized document

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 control, which enables its lawyers to effectively manage large cases of national scope.

       The following is a biographical sketch of the some of the members of Strange &
 Carpenter.

 Brian R. Strange

         Brian R. Strange is an experienced and respected class action and complex business
 trial lawyer. Mr. Strange has lectured on class actions before various organizations,
 including the California State Bar, the Practicing Law Institute, and various consumer
 attorneys organizations. In March 2012, Mr. Strange was a speaker at the International
 Seminar on Consumer Litigation in Japan, the United States and China, in Tokyo. That
 seminar was held jointly by the Japan Federation of Bar Associations (the JFBA) and the
 American Bar Association (the ABA) and involved legal experts from these three countries
 focusing on recent trends and issues in class-action consumer lawsuits and cross-border
 consumer litigation in their respective countries. Mr. Strange recently authored an article
 entitled "Modern wiretapping": Can the federal Wiretap Act protect consumers from the
 latest methods of online and mobile tracking? Published in the Advocate July 2012, and
 authored an article entitled “Security Breach Injury in Cyberspace: Does the Law Keep Up
 with New Damage Frontiers?” published in Los Angeles Lawyer February 2012. Mr.
 Strange was designated as one of Southern California Super Lawyers in 2010, 2011 and 2012
 and has successfully concluded settlements for class members in excess of $100 million in
 just the last two years.

         Mr. Strange was recently appointed to Plaintiffs’ Steering Committee in In re Sony
 Gaming Networks and Customer Data Security Breach Litigation, MDL No. 2258, by the
 Honorable Anthony J. Battaglia in the Southern District of California. Mr. Strange was
 approved by Judge Jack Zouhary to serve on the Plaintiffs’ Executive Committee in a
 consolidated antitrust case, In Re: Polyurethane Foam Antitrust Litigation, pending in the
 United States District Court for the Northern District of Ohio, MDL No. 2196. That case
 involves allegations of price fixing in the sale of polyurethane foam and is considered one
 of the largest antitrust cases in the last 10 years. Mr. Strange was also recently appointed Co-
 Lead Class Counsel by Los Angeles Superior Court Judge Anthony Mohr in the California
 state coordinated proceeding in Toyota Motor Cases, J.C.C.P. 4621, involving allegations
 of unintended acceleration in Toyota vehicles. Mr. Strange was appointed to the Plaintiffs’
 Steering Committee by Judge Ortrie D. Smith in In Re: Bisphenol-A (BPA) Polycarbonate
 Plastic Products Liability Litigation, pending in the United States District Court for the
 Western District of Missouri - Western Division (Kansas City), MDL No. 1967. That case
 involves polycarbonate plastic baby bottles and children’s training or spill-resistant cups
 containing the chemical Bisphenol-A (“BPA”). Mr. Strange was also selected by Judge Carl
 Barbier as a member of the Plaintiffs’ Executive Committee in In Re: Apple iPhone 3G and
 3GS MMS Marketing and Sales Practices Litigation, pending in the United States District
 Court for the Eastern District of Louisiana (New Orleans), MDL No. 2116. That case
 involves the operation of the Apple iPhone on AT&T 3G and 3GS networks. Mr. Strange
 has been involved in cases at the forefront of Internet law in the last few years and has been
 lead counsel in numerous class actions related to credit cards and online issues, including

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 against the nation’s largest banks, telephone companies and pharmaceutical companies. Mr.
 Strange served as lead Class Counsel in a nationwide settlement against AT&T Mobility
 LLC regarding flat-rate early termination fees for mobile phones, entitled Hall, et al. v.
 AT&T Mobility LLC f/k/a Cingular Wireless LLC, et al., United States District Court for the
 District of New Jersey, Case No. 07-05325 (JLL), which resolved cellular telephone cases
 involving early termination fees across the country. Mr. Strange also served as lead counsel
 in a case entitled Simonet, et al. v. GlaxoSmithKline, et al., held in the United States District
 Court for the District of Puerto Rico, Case No. 06-1230 (GAG/CVR), involving the anti-
 depressant drug Paxil.

         In his past 20 years participating in complex cases, Mr. Strange has been involved in
 noted mass disaster litigation such as the MGM Grand Hotel fire litigation; the “Crandall”
 gem case; the San Juan Dupont Plaza Hotel fire litigation in Puerto Rico; litigation arising
 out of the Iran-Contra scandal; and numerous national class actions. Trial victories include
 a $160 million judgment against the principals of an investment scam in a case tried in Los
 Angeles Superior Court in 1991. In February 1993, Mr. Strange obtained a $21 million
 punitive damage verdict against First State Insurance Company, reportedly one of the largest
 punitive damage verdicts in California in 1993. In May 1993, Mr. Strange obtained the first
 punitive damage verdict in 17 years in a courtroom in Santa Barbara on behalf of a homeless
 family. Since 2000, Mr. Strange has acted as lead counsel in several class action cases with
 settlements obtained in excess of $500 million, including settlements with the nation’s largest
 corporations.

        Mr. Strange has been interviewed for stories relating to his cases by The New York
 Times, The Los Angeles Times, The Washington Post, The National Law Journal, The Daily
 Journal, and others.

        Mr. Strange received his Bachelor of Arts in Economics from the University of
 California at Los Angeles and his law degree from the University of California, Hastings
 College of Law. Mr. Strange is admitted to practice before all courts in the State of
 California, the United States Supreme Court, all federal district courts in California, and the
 United States Courts of Appeals for the First, Third, Fifth, Eighth, Ninth, and Tenth Circuits,
 as well as the United States Court of Federal Claims. Mr. Strange authored “Municipalities:
 Welcome to the Antitrust Restraints of the Free Market,” Century City Bar Journal, Spring,
 1982.

        Mr. Strange is an active member of the community, where he sits on the Board of
 Directors and the Executive Committee of Public Counsel, the nation’s largest pro-bono law
 firm, and is the President of the Boys and Girls Club of Malibu. A noted adventurer, Mr.
 Strange was awarded an anniversary medal by the King of Nepal for his 2009 summit of
 Mount Everest. He is one of the select few who have summitted the highest peaks of all
 seven continents.

 Gretchen Carpenter

        Gretchen Carpenter is a partner of Strange & Carpenter. She received her Bachelor

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 of Arts in Political Science and Theatre, cum laude, from the University of California at San
 Diego, where she was a member of Phi Beta Kappa. Ms. Carpenter received her law degree
 from UCLA School of Law, where she was an editor of the Women’s Law Journal. She is
 admitted to practice before all courts in the State of California and several federal courts
 throughout the country, including United States Courts of Appeals for the Third, Fifth,
 Eighth, Ninth, and Tenth Circuits. Ms. Carpenter was chosen as one of Southern California’s
 Super Lawyers in 2010, 2011 and 2012.

        Ms. Carpenter is an experienced and respected class action litigator, having
 successfully analyzed, drafted and argued numerous class certification and other complex
 motions. Ms. Carpenter has extensive knowledge of Rule 23 procedures, and her superior
 drafting and analytical skills have brought her to the forefront of class action litigation,
 including certifying a nationwide class under California law in Talwar, et al. v. Creative
 Labs, Inc., United States District Court for the Central District of California Case No. CV
 05-3375 FMC (AJWx). Ms. Carpenter recently successfully argued before the California
 Court of Appeal in Hale v. Sharp Healthcare, 183 Cal. App. 4th 1373, 108 Cal. Rptr. 3d 669
 (2010), which upheld claims under California’s Unfair Competition Law in a published
 decision that has been cited by several other state and federal courts, including the California
 Supreme Court, as well as in various treatises. Ms. Carpenter has also lectured on class
 actions and class-wide arbitration procedures before various continuing legal education
 groups and other organizations.

 Keith L. Butler, Ph.D.

        Keith L. Butler is a member of the firm and Head of the Antitrust Practice. An
 experienced antitrust lawyer and complex commercial litigator, Keith has been representing
 a wide variety of clients, from Fortune 500 companies to small businesses and individuals,
 for more than a decade.

        Mr. Butler has maintained a full service antitrust practice that has included civil and
 criminal litigation (including extensive experience in cartel matters), merger clearance,
 government investigations, and counseling. Notably, Mr. Butler played a leading role in
 obtaining FTC clearance for Grifols' $4 billion acquisition of Talecris, and he was a core
 member of Oracle's successful antitrust trial team in the government's landmark challenge
 to Oracle's hostile takeover of PeopleSoft. Other areas of complex commercial litigation Mr.
 Butler handles include unfair competition, securities, and common law business disputes; he
 has had a number of successes in appellate matters.

        Mr. Butler’s clients span a wide range of industries, including biotechnology and
 pharmaceuticals, health care, information technology and the Internet, financial services,
 insurance and reinsurance, entertainment, textiles, lodging and gaming, real estate, utilities,
 and waste services.
        Mr. Butler has published widely; his antitrust writings have appeared in Law 360,
 Global Competition Review, and Competition Policy International, among others.

        Mr. Butler began his legal career at Latham & Watkins, and, before joining Strange

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 & Carpenter, practiced most recently at Proskauer Rose. Prior to practicing law, Mr. Butler
 was a professor of philosophy at several colleges and universities, including Washington
 University and the College of William and Mary.

 Education

 University of Washington School of Law Seattle, WA
 J.D. with honors May 2001
 Journal: Washington Law Review, Executive Articles Editor
 Externship: Chief Judge John C. Coughenour, United States District Court for the Western
 District of Washington

 University of Wisconsin Madison, WI
 Ph.D., Philosophy (minor in Cognitive Psychology) May 1991
 M.A., Philosophy May 1987
 B.A., Philosophy May 1984

 University of Warwick Coventry, UK
 Visiting Scholar, Department of Philosophy 1990-1991

        Mr. Butler has authored numerous articles on antitrust and unfair competition,
 including, most recently:

       " Competition Policy International, Recovery in the United States for Price-Fixing
 Abroad: The Future of FTAIA Litigation, 2011 (co-author)

      " Global Competition Review - Antitrust Review of the Americas, Single-Firm
 Conduct Enforcement in the US - The Year in Review, 2011 (co-author)

        " Law360 - Antitrust and the Digital Economy, 2011 (co-author)

      " American Bar Association, Section of Antitrust Law - Interlocking Directorates:
 Handbook on Section 8 of the Clayton Act, 2011 (co-author)

 John Kristensen

         John Kristensen is an associate of Strange & Carpenter who joined the firm in 2011.
 He returned to Los Angeles, where he began his career, to expand his practice to include
 prosecution of class action cases. In 2011, the Daily Journal selected Mr. Kristensen as one
 of five associates to watch in the state of California. He was the sole plaintiffs’ attorney to
 receive the accolade.

         Mr. Kristensen spent the previous three years in the Bay Area representing plaintiffs
 in catastrophic cases with an emphasis on aviation and automobile products liability lawsuits.

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 He remains in the role as the youngest attorney appointed to the plaintiffs’ steering
 committees in the California Toyota Sudden Acceleration cases.

         In May 2010, the National Highway Traffic Safety Administration (“NHTSA”)
 accepted Mr. Kristensen’s request to open a timeliness query into the 2005 Toyota steering
 relay rod recall. Mr. Kristensen uncovered that Toyota had received nearly 40 complaints
 of the rods failing in the United States by October 2004 when Toyota issued the recall for the
 parts in pickups and 4Runners in Japan, but not the United States. Toyota told NHTSA at
 the time they had no similar information in the United States and that is why Toyota delayed
 the recall for nearly a year in America. Toyota paid the maximum fine in December 2010
 of over $16 million as a result of Mr. Kristensen’s investigation.

       Good Morning America, USA Today, AP, Los Angeles Times, Washington Post,
 KNBC and the Daily Journal have all reported on Mr. Kristensen’s relentless effort to hold
 manufacturers accountable.

        Mr. Kristensen was born in Massachusetts and raised in North Andover. Mr.
 Kristensen received his Undergraduate degree in Political Science at the University of
 Oregon. Upon graduation, Mr. Kristensen moved to Los Angeles to work for the California
 Democratic Party in the 1998 election. In 1999, Mr. Kristensen received a scholarship to
 attend Washington & Lee University School of Law in Lexington, Virginia.

 Carolyn Deverich

         Carolyn Deverich is an associate of Strange & Carpenter. Ms. Deverich received her
 J.D. from Brigham Young University, magna cum laude, in 2007, where she served as senior
 editor of the BYU Law Review, competed on the Trial Advocacy team, and served as a small
 claims mediator in the Utah County court system. In 2006, she published a comment on First
 Amendment Establishment and Free Exercise rights in the BYU Law Review. She received
 her Bachelor of Arts in American Studies, magna cum laude and University Honors, from
 Brigham Young in 2004, and in conjunction with her Honors distinction, penned a thesis on
 American history and historical relativism. She has also published articles in the BYU Pre-
 Law Review, Insight Magazine, the Latin American Literature Forum, and the Americana
 Journal of American Studies.

         Prior to joining Strange & Carpenter, Ms. Deverich worked as a litigation associate
 at the international law firm Paul, Hastings, Janofsky & Walker LLP where she specialized
 in securities law, business torts and class action claims. Before entering private practice, Ms.
 Deverich interned with the Criminal Appellate Division of the U.S. Department of Justice
 in Washington D.C.

 David Holop

       David Holop is an associate of Strange & Carpenter. Mr. Holop received his law
 degree from UCLA in 2011. While at UCLA, Mr. Holop was the Managing Editor for the
 UCLA Law Review, Managing Editor for the UCLA Journal of International Law and

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 Foreign Affairs, a volunteer for the El Centro Legal Mobile Clinic and LAFLA Landlord-
 Tenant Clinic and a mentor for the Law Fellows Outreach Program. Mr. Holop received his
 Bachelor of Science in Economics, cum laude, from the University of Pennsylvania, Wharton
 School.

 Adrian Bacon

        Adrian Bacon is an associate of Strange & Carpenter. Mr. Bacon received his law
 degree from UCLA in 2011. While at UCLA, Mr. Bacon was a member of the UCLA Mock
 Trial Competition Team, achieving Third Place in the Akin Gump Mock Trial Competition
 and participated in the Jones Day Moot Court, 1L Practice Competition. Mr. Bacon was also
 a member of the Journal of Law and Technology. Mr. Bacon received his Bachelor of
 Science in Business Administration from the University of Arizona - Eller College of
 Management, with a major in Economics and a minor in Philosophy.

 Jill Hood

        Jill Hood is a paralegal of Strange & Carpenter. She received her Associate of
 Science and Bachelor of Science degrees in Paralegal from the University of La Verne,
 where she served as Secretary to the Paralegal Association. Ms. Hood has been with Strange
 & Carpenter since 1997 and has many years of experience in complex litigation matters. Ms.
 Hood has extensive experience involving preliminary and final approval of class action
 settlements, including claim administration and distribution processes. Ms. Hood has
 extensive experience handling settlement classes consisting of multi-millions of members.
 Ms. Hood also has extensive experience in investigating claims and corporate wrongdoing.

 Carlo Aguilar

        Carlo Aguilar is a paralegal of Strange & Carpenter. He received his Bachelor of
 Arts degree in Political Science from the University of California, Los Angeles, where Mr.
 Aguilar was on the Dean’s List.




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